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EBERLE COMMUNICATIONS GROUP, INC.

Turning Dreams into Reality Since 1974

May 31, 2023

United States Courthouse
6500 Cherrywood Lane
Courtroom 3C

Greenbelt MD, 20770

 

Judge Chavez-Ruark,

In reply to your order dated May 30, 2023, this letter and supporting documents are
provided for Case Number 23-13736 (Debtor, Zip Mailing Services, Inc)

Eberle Communications Group, Inc (ECG), a fundraising counsel firm, has 78 non-profit
clients which have funds held in escrow by Zip Mailing Services for future postage
expenses. In this regard, and by contract between ECG and its client, ECG serves as
an agent for its clients. On behalf of our clients, we are submitting claims against Zip
Mailing Service (Debtor) cash collateral.

Attached is a summary of the amount each of our non-profit clients have in escrow with
Zip. The amount totals $263,341.51. To support these claims, we enclose an
accounting of all transactions which have occurred from the postage accounts held by
Zip on behalf of our clients. The transaction report is for 2023 and we can provide the
Court transaction records for any time period which may be required.

Additionally, Zip Mailing credited our clients the postage accounts to address bills owed
by our client to Zip for services previously provided. A letter which memorializes the
prior agreement is enclosed.

| am available if the court requires my presence in court. | can also be reached at 571-
297-2412 or by email at jhruska@eberle1.com

 

hief Financial Officer
Eberle Communications Group

1420 Spring Hill Road, Suite 490, McLean, Virginia 22102 703-893-1095 Fax 703-821-0920
www.ecgone.com

 
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Summary of amount held by Zip Mailing Services in escrow for Eberle
Communications Group's Clients future postage expenses

 

Postage Account Balance

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Client as of 5/31/23
Admiral Nimitz Foundation S 603.72
AdoptaPlatoon S 1,599.26
Animal Recovery Mission S 1,720.90
Animals’ Angels, Inc. S$ 2,640.50
Arabian Rescue Mission, Inc. S 1,821.48
Baby Rhino Rescue $ 760.19
BAMPAC Action Fund S 1,273.21
Black Americans Making America First S 2,163.73
Black America's PAC S 278.30
Carla Spalding for Congress (FL25) S$ 1,953.38
Castle Air Museum Foundation S 1,845.43
Castleton Ranch Horse Rescue S 1,826.51
Dreamchaser PMU Horse Rescue & Rehabilitation $ 741.88
Eisenhower Foundation S 6,716.54
Equine Voices Rescue & Sanctuary S$ 6,677.12
Feeding the Pets of Homeless $ 46.59
Fort Ticonderoga Association S 324.65
Foundation for Liberty and American Greatness $ 607.61
Four Corners Equine Rescue $ 778.89
Front Range Equine Rescue S 6,780.66
Gentle Giants Draft Horse Rescue, LTD S$ 7,012.95
God's Word to the Nations Mission Society S 1,231.77
Goldens Without Borders S 449.55
Guardian Angels Medical Service Dogs S 11,275.79
Guardians of Rescue $ 474.21
Happy Cat, Inc. S 1,218.61
Harry S Truman Library Institute S 12,645.02
Homes For Veterans S$ 1,357.99
Hooves and Paws Animal Rescue S 1,546.51
In Vest USA S 7,815.12
International Conservation Caucus Foundation $ 628.87
lrondog K9 International, Inc S$ 145.02
K9 Lifeline Rescue $ 236.24
Keepers of the Wild $ 37,939.90
Latinos for America First S 832.49
Lifesavers Wild Horse Rescue $ 1,383.62
Lion Habitat Ranch S 2,247.21
Little Longears Miniature Donkey Rescue S 285.30
Live Action S 4,185.39
Lost Meadows Mule Refuge $ 1,121.33
Mara Elephant Project- Project of Sidekick Fdn, Inc. S 1,642.79
Military Aviation Museum S 1,793.26

 

 

 

 
 

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National D-Day Memorial Foundation S 3,302.85
National Vietnam War Museum S 251.59
National WASP WWII Museum $ 1,377.08
New Journey PAC S$ 4,632.71
Noahs Lost Ark Animal Sanctuary $ 1,388.26
Orphan Acres Inc. S 2,020.65
Pacific Batttleship-National Museum of the Surface Navy S$ 572.29
Paws for Purple Hearts S 1,987.56
Paws of War, Inc. $ 2,229.20
Peaceful Valley Donkey Rescue S 84.64
Pilots tot eh Rescue S 3,549.86
Pray in Jesus Name Ministries S 19,817.05
PrideRock Wildtife Refuge $ 44.15
ProEnglish S 1,437.79
Project K9 Hero S 12,606.34
Protecting K9 Heroes NFP S 2,319.22
Radio America $ 838.48
Red Bell Run Foundation $ 444.58
Redwings Horse Sanctuary S 598.83
Ring Dog Rescue S 529.84
Sandy Smith for Congress (NC-01) S 1,188.00
Save A Rescue, Inc. S 489.12
Save Korean Dogs USA Foundation S 5,726.84
Save-A-Pet Animal Rescue S 3,890.30
Second Chances for Blind Dogs Foundation S 8,114.93
Smiling Dog Farms $ 3,340.01
Speak up for Horses S 437.44
Stars and Stripes Forever PAC S$ 28.91
Tiger Creek Animal Sanctuary S 3,604.99
Tiger Haven S 2,243.72
Turning Pointe Donkey Rescue S 506.18
Tuskegee Airmen National Historical Museum S 1,713.36
White Wolf Sanctuary S$ 5,773.78
Winsome PAC S 984.82
World War II Veterans Committee S 14,395.42
Wounded Paw Project S 12,511.28

Total Held in Escrow by Zip for Postage $ 263,611.56

 

 

 

 
 

 

 

 

 

 

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Date: May 31, 2023 POSTAGE LEDGER BY VENDOR REPORT Time: 9:54 AM
Report: MAPL02 ZIP Mailing Services, Inc. (1077) Page: 1
January 1, 2023 thru May 31, 2023
60 Plus Foundation (390)
Date Type Check # Deposit Reference Package Quantity Rate Payment Balance
01/01/23 Balance Begin Balance $61.79
03/17/23 Refund 27199 $61.79 $0.00
$0.00 $61.79
Admiral Nimitz Foundation (728)
Date Type Check # Deposit Reference Package Quantity Rate Payment Balance
01/01/23 Balance Begin Balance $603.72
$0.00 $0.00
AdoptaPlatoon (788)
Date Type Check # Deposit Reference Package Quantity Rate Payment Balance
01/01/23 Balance Begin Balance $1,599.26
$0.00 $0.00
Animal Recovery Mission (183)
Date Type Check # Deposit Reference Package Quantity Rate Payment Balance
01/01/23 Balance Begin Balance $10,337.34
01/17/23 Premium 67357 EAU-05 28,811 $0.05 $1,440.55 $8,896.79
01/17/23 Postage 67357 EAU-05 28,811 $4,725.00 $4,171.79
01/23/23 Premium 67358 EAU-05 439 $0.05 $21.95 $4,149.84
01/23/23 Postage 67358 EAU-05 439 $74.19 $4,075.65
01/29/23 Sample 67357 EAU-05 $0.50 $4,075.15
02/06/23 Premium 67359 EAU-05 10,750 $0.05 $537.50 $3,537.65
02/06/23 Postage 67359 EAU-05 10,750 $1,816.75 $1,720.90
$0.00 $8,616.44
Animals' Angels, Inc. (240)
Date Type Check # Deposit Reference Package Quantity Rate Payment Balance
01/01/23 Balance Begin Balance $2,640.50
$0.00 $0.00
Arabian Rescue Mission, Inc. (107)
Date Type Check # Deposit Reference Package Quantity Rate Payment Balance
01/01/23 Balance Begin Balance $44.85
01/10/23 RPA/CA 8429 $12,800.00 $12,844.85
01/24/23 Premium 67371 MO1-01 2,693 $0.10 $269.30 $12,575.55
01/24/23 Postage 67371 M01-01 2,693 $1,424.86 $11,150.69
01/24/23 Stamp Reply 67371 MO01-01 2,693 $0.63 $1,696.59 $9,454.10
01/25/23 Premium 67360 MCD-01 15,548 $0.10 $1,554.80 $7,899.30
01/25/23 Postage 67360 MCD-01 15,548 $3,136.90 $4,762.40
02/02/23 Sample 67371 MO1-01 $9.80 $4,752.60
02/03/23 Sample 67360 MCD-01 $2.89 $4,749.71
02/13/23 Premium 67361 MCD-01 4,448 $0.10 $444.80 $4,304.91
02/13/23 Postage 67361 MCD-01 4,448 $933.79 $3,371.12
04/30/23 Premium 67362 MCD-01 5,000 $0.10 $500.00 $2,871.12
04/30/23 Postage 67362 MCD.-01 5,000 $1,049.64 $1,821.48
Comments: dropped 1/25
$12,800.00 $11,023.37

 
 

 

 

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Date: May 31, 2023 POSTAGE LEDGER BY VENDOR REPORT Time: 9:54 AM
Report: MAPL02 ZIP Mailing Services, Inc. (1077) Page: 3
January 1, 2023 thru May 31, 2023

Dreamchaser PMU Horse Rescue & Rehabilitation (165)
Date Type Check # Deposit Reference Package Quantity Rate Payment Balance
01/01/23 Balance Begin Balance $1,821.30
01/24/23 RPA/CA 8434 $28,500.00 $30,321.30
02/03/23 Postage 67378 PHR-06 32,439 $6,190.43 $24,130.87
02/03/23 Premium 67378 PHR-06 32,439 $0.50 $16,219.50 $7,911.37
02/15/23 Sample 67378 PHR-06 $11.00 $7,900.37
02/20/23 Postage 67379 PHR-06 7,559 $1,520.01 $6,380.36
02/20/23 Premium 67379 PHR-06 7,559 $0.50 $3,779.50 $2,600.86
02/21/23 RPA/CA 8449 $8,800.00 $11,400.86
03/01/23 Premium 67439 BDB-07 31,818 $0.07 $2,227.26 $9,173.60
03/01/23 Postage 67439 BDB-07 31,818 $6,145.95 $3,027.65
03/10/23 Sample 67439 BDB-07 $1.80 $3,025.85
03/20/23 Premium 67440 BDB-07 8,182 $0.07 $572.74 $2,453.11
03/20/23 Postage 67440 BDB-07 8,182 $1,711.23 $741.88

$37,300.00 $38,379.42
Eisenhower Foundation, The (581)
Date Type Check # Deposit Reference Package Quantity Rate Payment Balance
01/01/23 Balance Begin Balance $3,906.76
01/30/23 Deposit 3482 $27,000.00 $30,906.76
02/14/23 Postage 67411 MO02-01 11,215 $5,890.97 $25,015.79
02/14/23 Stamp Reply 67411 MO02-01 11,215 $0.63 $7,065.45 $17,950.34
02/14/23 Premium 67411 M02-01 11,215  =$1.00 $11,215.00 $6,735.34
03/09/23 Sample 67411 MO02-01 $18.80 $6,716.54

$27,000.00 $24,190.22
Equine Voices Rescue & Sanctuary (127)
Date Type Check # Deposit Reference Package Quantity Rate Payment Balance
01/01/23 Balance Begin Balance $10,067.05
01/24/23 RPA/CA 8435 $15,500.00 $25,567.05
02/09/23 Premium 67380 MO02-01 5,073 $0.15 $760.95 $24,806.10
02/09/23 Postage 67380 MO02-01 5,073 $2,687.86 $22,118.24
02/09/23 Stamp Reply 67380 M02-01 5,073 $0.63 $3,195.99 $18,922.25
02/09/23 Premium 67381 SHC-01 30,097 $0.15 $4,514.55 $14,407.70
02/09/23 Postage 67381 SHC-01 30,097 $5,814.09 $8,593.61
02/16/23 Sample 67380 MO02-01 $12.36 $8,581.25
02/16/23 Sample 67381 SHC-01 $2.40 $8,578.85
03/09/23 Premium 67382 SHC-01 9,903 $0.15 $1,485.45 $7,093.40
03/09/23 Postage 67382 SHC-01 9,903 $2,034.12 $5,059.28
03/28/23 RPA/CA 8485 $17,000.00 $22,059.28
04/21/23 Premium 67530 SHC-02 45,065 $0.15 $6,759.75 $15,299.53
04/21/23 Postage 67530 SHC-02 45,065 $8,621.81 $6,677.72
05/25/23 Sample 67530 SHC-02 $0.60 $6,677.12

$32,500.00 $35,889.93
Feeding Pets of Homeless (870)
Date Type Check # Deposit Reference Package Quantity Rate Payment. Balance
01/01/23 Balance Begin Balance $46.59

$0.00 $0.00

Fort Ticonderoga Association (667)
Date Type Check # Deposit Reference Package Quantity Rate Payment. Balance

 

 

 
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Date: May 31, 2023 POSTAGE LEDGER BY VENDOR REPORT Time: 9:54 AM

Report: MAPL02 ZIP Mailing Services, Inc. (1077) Page: 5
January 1, 2023 thru May 31, 2023

GOD'S WORD to the Nations Mission Society (558)

Date Type Check # Deposit Reference Package Quantity Rate Payment Balance

03/20/23 Deposit 4773 $1,800.00 $2,776.16

04/03/23 Premium 67514 K03-01 4,980 $0.10 $498.00 $2,278.16

04/03/23 Postage 67514 K03-01 4,980 $1,045.39 $1,232.77

04/06/23 Sample 67514 K03-01 $1.00 $1,231.77
$1,800.00 $1,544.39

Goldens Without Borders (1101)

Date Type Check # Deposit Reference Package Quantity Rate Payment Balance
01/01/23 Balance Begin Balance $449.55
$0.00 $0.00

Guardian Angels Medical Service Dogs (381)

 

Date Type Check # Deposit Reference Package Quantity Rate. Payment Balance
01/01/23 Balance Begin Balance $1,467.79
03/14/23 RPA/CA 8474 $43,300.00 $44,767.79
03/31/23 Postage 67497 BF-05 70,537 $13,405.69 $31,362.10
03/31/23 Premium 67497 BF-05 70,537 $0.22 $15,518.14 $15,843.96
04/07/23 Sample 67497 BF-05 $4.05 $15,839.91
04/18/23 Postage BF-05 10,706 $2,208.80 $13,631.11
04/18/23 Premium BF-05 10,706 $0.22 $2,355.32 $11,275.79
$43,300.00 $33,492.00

Guardians of Rescue (756)

Date Type Check # Deposit Reference Package Quantity Rate Payment Balance
01/01/23 Balance Begin Balance $474.21
$0.00 $0.00

Happy Cat, Inc. (846)

 

Date Type Check # Deposit Reference Package Quantity Rate Payment Balance
01/01/23 Balance Begin Balance $1,218.61
$0.00 $0.00

Harry S Truman Library Institute (674)

Date Type Check # Deposit Reference Package Quantity Rate Payment Balance
01/01/23 Balance Begin Balance $10,463.39
02/06/23 Deposit 1956 $31,400.00 $41,863.39
02/22/23 Premium 67415 CCU-07 89,451 $0.10 $8,945.10 $32,918.29
02/22/23 Postage 67415 CCU-07 89,451 $16,937.71 $15,980.58
02/28/23 Premium 67416 CCU-07 2,254 $0.10 $225.40 $15,755.18
02/28/23 Postage 67416 CCU-07 2,254 $473.31 $15,281.87
03/03/23 Sample 67415 CCU-07 $0.80 $15,281.07
03/22/23 Premium 67417 CCU-07 8,553 $0.10 $855.30 $14,425.77
03/22/23 Postage 67417 CCU-07 8,553 $1,780.75 $12,645.02
$31,400.00 $29,218.37

Homes for Veterans (222)

Date Type Check # Deposit Reference Package Quantity Rate Payment Balance
01/01/23 Balance Begin Balance $1,357.99

 
 

 

 

 

 

 

 

 

 

 

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Date: May 31, 2023 POSTAGE LEDGER BY VENDOR REPORT Time: 9:54 AM
Report: MAPL02 ZIP Mailing Services, Inc. (1077) Page: 7

January 1, 2023 thru May 31, 2023

Latinos for America First (909)

Date Type Check # Deposit Reference Package Quantity Rate Payment Balance

01/01/23 Balance Begin Balance $832.49
$0.00 $0.00

Lifesavers Wild Horse Rescue (331)

Date Type Check # Deposit Reference Package Quantity Rate Payment Balance

01/01/23 Balance Begin Balance $1,383.62
$0.00 $0.00

Lion Habitat Ranch (670)

Date Type Check # Deposit Reference Package Quantity Rate Payment Balance

01/01/23 Balance Begin Balance $2,247.21
$0.00 $0.00

Little Longears Miniature Donkey Rescue (601)

Date Type Check # Deposit Reference Package Quantity Rate Payment Balance

01/01/23 Balance Begin Balance $285.30
$0.00 $0.00

Live Action (468)

Date Type Check # Deposit Reference Package Quantity Rate Payment Balance

01/01/23 Balance Begin Balance $4,185.39
$0.00 $0.00

Lost Meadows Mule Refuge (937)

Date Type Check # Deposit Reference Package Quantity Rate Payment Balance

01/01/23 Balance Begin Balance $1,121.33
$0.00 $0.00

Mara Elephant Project-Project of Sidekick Fdn Inc. (831)

Date Type Check # Deposit Reference Package Quantity Rate Payment Balance

01/01/23 Balance Begin Balance $1,642.79
$0.00 $0.00

Military Aviation Museum (112)

Date Type Check # Deposit Reference Package Quantity Rate Payment Balance

01/01/23 Balance Begin Balance $1,793.26
$0.00 $0.00

National D-Day Memorial Foundation (903)

Date Type Check # Deposit Reference Package Quantity Rate Payment Balance

01/01/23 Balance Begin Balance $3,302.85
$0.00 $0.00

National Vietnam War Museum, The (866)

Date Type Check # Deposit Reference Package Quantity Rate Payment Balance

 

 
 

 

 

 

 

 

 

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Date: May 31, 2023 POSTAGE LEDGER BY VENDOR REPORT Time: 9:54 AM
Report: MAPL02 ZIP Mailing Services, Inc. (1077) Page: 9

January 1, 2023 thru May 31, 2023

Pacific Battleship-Natl Museum of the Surface Navy (369)

Date Type Check # Deposit Reference Package Quantity Rate Payment Balance

01/01/23 Balance Begin Balance $572.29
$0.00 $0.00

Paul Gosar for Congress (AZ 09) (978)

Date Type Check # Deposit Reference Package Quantity Rate Payment Balance

01/01/23 Balance Begin Balance $1,615.46

02/10/23 Refund 27159 $1,615.46 $0.00
$0.00 $1,615.46

Paws for Purple Hearts (194)

Date Type Check # Deposit Reference Package Quantity Rate Payment Balance

01/01/23 Balance Begin Balance $1,987.56
$0.00 $0.00

Paws of War, Inc. (466)

Date Type Check # Deposit Reference Package Quantity Rate Payment Balance

01/01/23 Balance Begin Balance $2,229.20
$0.00 $0.00

Peaceful Valley Donkey Rescue (589)

Date Type Check # Deposit Reference Package Quantity Rate Payment Balance

01/01/23 Balance Begin Balance $84.64
$0.00 $0.00

Pilots to the Rescue (686)

Date Type Check # Deposit Reference Package Quantity Rate Payment Balance

01/01/23 Balance Begin Balance $3,549.86
$0.00 $0.00

Pray in Jesus Name Ministries (187)

Date Type Check # Deposit Reference Package Quantity Rate Payment Balance

01/01/23 Balance Begin Balance $19,817.05
$0.00 $0.00

PrideRock Wildlife Refuge (206)

Date Type Check # Deposit Reference Package Quantity Rate Payment Balance

01/01/23 Balance Begin Balance $44.15
$0.00 $0.00

ProEnglish (641)

Date Type Check # Deposit Reference Package Quantity Rate Payment Balance

01/01/23 Balance Begin Balance $1,437.79
$0.00 $0.00

 

 
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Date: May 31, 2023 POSTAGE LEDGER BY VENDOR REPORT Time: 9:54 AM

Report: MAPLO2 ZIP Mailing Services, Inc. (1077) Page: 11
January 1, 2023 thru May 31, 2023

Save A Rescue Inc. (976)

Date Type Check # Deposit Reference Package Quantity Rate Payment Balance
01/01/23 Balance Begin Balance $489.12
$0.00 $0.00

Save Korean Dogs USA Foundation (940)

Date Type Check # Deposit Reference Package Quantity Rate Payment Balance

01/01/23 Balance Begin Balance $326.84

04/24/23 Deposit 0417 $5,400.00 $5,726.84
$5,400.00 $0.00

Save-A-Pet Animal Rescue (949)

Date Type Check # Deposit Reference Package Quantity Rate Payment Balance
01/01/23 Balance Begin Balance $229.79
04/04/23 RPA/CA 8492 $18,000.00 $18,229.79
04/17/23 Premium 67523 C04-01 4,150 $0.05 $207.50 $18,022.29
04/17/23 Postage 67523 C04-01 4,150 $2,195.11 $15,827.18
04/17/23 Stamp Reply 67523 C04-01 4,150 $0.63 $2,614.50 $13,212.68
04/18/23 Premium 67520 DLN-02 38,508 $0.05 $1,925.40 $11,287.28
04/18/23 Postage 67520 DLN-02 38,508 $7,396.98 $3,890.30
$18,000.00 $14,339.49

Saving the Survivors (953)

Date Type Check # Deposit Reference Package Quantity Rate Payment Balance

01/01/23 Balance Begin Balance $1,352.65

04/10/23 Refund 27205 $1,352.65 $0.00
$0.00 $1,352.65

Second Chances for Blind Dogs Foundation (819)

 

Date Type Check # Deposit Reference Package Quantity Rate Payment Balance
01/01/23 Balance Begin Balance $49,007.14
01/05/23 Premium 67276 RPT-09 19,378 $0.10 $1,937.80 $47,069.34
01/05/23 Postage 67276 RPT-09 19,378 $3,697.07 $43,372.27
02/01/23 Premium 67299 RPT-09 10,293 $0.10 $1,029.30 $42,342.97
02/01/23 Postage 67299 RPT-09 10,293 $2,121.27 $40,221.70
Comments: dropped 1/23 recd 2/15
03/13/23 Premium 67472 RPT-10 73,242 $0.10 $7,324.20 $32,897.50
03/13/23 Postage 67472 RPT-10 73,242 $13,929.06 $18,968.44
03/17/23 Sample 67472 RPT-10 $2.25 $18,966.19
04/03/23 Premium 67473 RPT-10 37,157 $0.10 $3,715.70 $15,250.49
04/03/23 Postage 67473 RPT-10 37,157 $7,135.56 $8,114.93
$0.00 $40,892.21
Smiling Dog Farms (298)
Date Type Check # Deposit Reference Package Quantity Rate Payment. Balance
01/01/23 Balance Begin Balance $3,340.01
$0.00 $0.00

Speak Up for Horses (123)

Date Type Check # Deposit Reference Package Quantity Rate Payment Balance
01/01/23 Balance Begin Balance $437.44

 
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Date: May 31, 2023 POSTAGE LEDGER BY VENDOR REPORT Time: 9:54 AM

Report: MAPL02 ZIP Mailing Services, Inc. (1077) Page: 13
January 1, 2023 thru May 31, 2023

World War II Veterans Committee (650)

Date Type Check # Deposit Reference Package Quantity Rate Payment Balance
01/01/23 Balance Begin Balance $24,195.42
01/01/23 RPA/CA 15967 $9,800.00 $14,395.42
Comments: 6/22 check posted to wrong acct
$0.00 $9,800.00

Wounded Paw Project (711)

 

Date Type Check # Deposit Reference Package Quantity Rate Payment Balance
01/01/23 Balance Begin Balance $770.92
01/23/23 Deposit 2581 $30,000.00 $30,770.92
02/03/23 Stamp Reply 67354 DF-08 32,448 $0.03 $973.44 $29,797.48
02/03/23 Postage 67354 DF-08 32,448 $6,267.00 $23,530.48
02/03/23 Premium 67354 DF-08 32,448 $0.50 $16,224.00 $7,306.48
02/10/23 Sample 67354 DF-08 $8.70 $7,297.78
02/20/23 Stamp Reply 67355 DF-08 7,550 $0.03 $226.50 $7,071.28
02/20/23 Postage 67355 DF-08 7,550 $1,585.00 $5,486.28
02/20/23 Premium 67355 DF-08 7,550 $0.50 $3,775.00 $1,711.28
04/17/23 Deposit 2628 $10,800.00 $12,511.28
$40,800.00 $29,059.64
Vendor Totals: $431,000.00 $461,102.00

Report Totals: $431,000.00 $461,102.00

 
